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8                                UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
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11
        KEVIN DANIEL DRISCOLL,                     )         NO. CV 17-7756-DOC (AGR)
12                                                 )
                   Petitioner,                     )
13                                                 )
                           v.                      )         OPINION AND ORDER ON
14                                                 )         PETITION FOR WRIT OF
        JOSIE GASTELO, Warden,                     )         HABEAS CORPUS
15                                                 )         (SUCCESSIVE PETITION)
                   Respondent.                     )
16                                                 )
                                                   )
17                                                 )

18           On October 24, 2017, Petitioner filed a Petition for Writ of Habeas Corpus

19     (“Petition”) pursuant to 28 U.S.C. § 2254. He challenges a 1999 Los Angeles

20     County Superior Court conviction and sentence for second degree murder with a

21     gun enhancement. (Petition at 2.) Because he previously challenged the same

22     state court judgment in a federal habeas action that was dismissed with prejudice

23     and because he lacks Ninth Circuit authorization to file a successive petition, the

24     Court does not have jurisdiction over the successive petition.

25           Petitioner also filed, in connection with his current Petition, a motion

26     pursuant to Fed. R. Civ. P. 60(b) for relief from judgment in his prior habeas

27     action, Driscoll v. Yarborough, No. CV 02-3013-DOC (AN) (“Driscoll I”). The

28     Clerk is directed to file the motion in Driscoll I.
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1                                                I.
2                               PROCEDURAL BACKGROUND
3            Pursuant to Fed. R. Evid. 201, the Court takes judicial notice of the records
4      in Petitioner’s prior federal habeas corpus action in the Central District of
5      California.
6            In 1999, a Los Angeles County Superior Court jury convicted Petitioner of
7      second degree murder. The jury also found true an enhancement allegation that,
8      in committing the murder, Petitioner personally and intentionally discharged a
9      firearm, causing great bodily injury and death. He was sentenced to prison for an
10     aggregate term of 40 years to life. (Petition at 2; see Dkt. Nos. 66, 73 in Driscoll
11     I.) Petitioner filed unsuccessful appeals and habeas actions in state court.
12           On April 11, 2002, Petitioner filed a habeas petition in this Court. On
13     December 29, 2005, the Court entered Judgment dismissing Driscoll I with
14     prejudice and, on February 15, 2006, the Court denied a certificate of
15     appealability. (Driscoll I, Dkt. Nos. 73, 74, 77.) The Ninth Circuit denied a
16     certificate of appealability on August 30, 2007 in its case number 06-55273. (Dkt.
17     No. 82.) The United States Supreme Court denied certiorari on March 31, 2008
18     in its case number 07-8996.
19           On March 23, 2017, Petitioner filed an application in the Ninth Circuit for
20     authorization to file a second or successive habeas petition in that court’s case
21     number 17-70835. According to the public docket, that application remains
22     pending.
23           The Petition for Writ of Habeas Corpus filed on October 24, 2017 in this
24     Court contains two grounds for relief: (1) the prosecution failed to prove each
25     element of the firearm enhancement beyond a reasonable doubt and, therefore,
26     he is actually innocent of the enhancement in Cal. Penal Code § 12022.53; and
27     (2) the same enhancement statute is unconstitutionally vague. (Petition at 5.)
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1      Petitioner contends his actual innocence exempts him from the one-year statute
2      of limitations under 28 U.S.C. § 2244(b)(2)(B)(ii). (Id. at 5.)
3            Petitioner also filed a motion pursuant to Fed. R. Civ. P. 60(b) for relief
4      from judgment in Driscoll I. The Rule 60(b) motion raises new grounds for relief
5      that were not contained in the Second Amended Petition in Driscoll I.
6      Specifically, Petitioner argues, as he does in the successive petition, that the gun
7      enhancement in Cal. Penal Code § 12022.53(d) is inapplicable to defendants
8      who have not furthered or promoted a criminal street gang pursuant to Cal. Penal
9      Code § 186.22(b) and, therefore, he is actually innocent of the gun
10     enhancement.1
11                                                 I.
12                                          DISCUSSION
13           The Petition was filed after enactment of the Antiterrorism and Effective
14     Death Penalty Act of 1996 (“AEDPA”). Therefore, the Court applies the AEDPA
15     in reviewing the Petition. Lindh v. Murphy, 521 U.S. 320, 336 (1997).
16           The AEDPA provides, in pertinent part: “Before a second or successive
17     application permitted by this section is filed in the district court, the applicant shall
18     move in the appropriate court of appeals for an order authorizing the district court
19     to consider the application.” 28 U.S.C. § 2244(b)(3)(A). A district court does not
20     have jurisdiction to consider a “second or successive” petition absent
21     authorization from the Ninth Circuit. Burton v. Stewart, 549 U.S. 147, 152 (2007);
22     Cooper v. Calderon, 274 F.3d 1270, 1274 (9th Cir. 2001) (“When the AEDPA is in
23     play, the district court may not, in the absence of proper authorization from the
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                Section 12022.53(d) mandates a consecutive 25-year term of
26     imprisonment for any person who, in the commission of enumerated felonies
       including murder, “personally and intentionally discharges a firearm and
27     proximately causes great bodily injury or death.” Section 12022.53(d), unlike §
       12022.53(e), does not require a violation of § 186.22(b). See Ozoa v. Sutton,
28     2017 U.S. Dist. LEXIS 98461, *5 (S.D. Cal. June 23, 2017).

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1      court of appeals, consider a second or successive habeas application.”) (citation
2      and quotation marks omitted).
3            Petitioner’s successive petition attacks the same state court judgment.
4      Magwood v. Patterson, 561 U.S. 320, 331 (2010). Petitioner’s reference to his
5      actual innocence does not alter the analysis. See Williams v. Thaler, 602 F.3d
6      291, 304-05 (5th Cir. 2010) (because petitioner failed to obtain Court of Appeals’
7      authorization for leave to file successive petition, “district court did not have
8      jurisdiction to consider [petitioner]’s claim of actual innocence”).
9            Contrary to Petitioner’s argument, Fed. R. Civ. P. 60(b) does not authorize
10     the filing of a successive petition. “Rule 60(b), like the rest of the Rules of Civil
11     Procedure, applies in habeas corpus proceedings under 28 U.S.C. § 2254 only
12     ‘to the extent that [it is] not inconsistent with’ applicable federal statutory
13     provisions and rules.” Gonzalez v. Crosby, 545 U.S. 524, 529 (2005) (footnote
14     omitted). As discussed above, one of the AEDPA-amended statutes requires
15     that, “before the district court may accept a successive petition for filing, the court
16     of appeals must determine that it presents a claim not previously raised that is
17     sufficient to meet § 2244(b)(2)’s new-rule or actual-innocence provisions.” Id. at
18     530. A Rule 60(b) motion, like petitioner’s, that seeks adjudication of a claim of
19     constitutional error “is, if not in substance a ‘habeas corpus application,’ at least
20     similar enough that failing to subject it to the same requirements would be
21     ‘inconsistent with’ the statute. Using Rule 60(b) to present new claims for relief
22     from a state court’s judgment of conviction – even claims couched in the
23     language of a true Rule 60(b) motion – circumvents AEDPA’s requirement that a
24     new claim be dismissed unless it relies on either a new rule of constitutional law
25     or newly discovered facts.” Id. at 531. Such a use of Rule 60(b) “would
26     impermissibly circumvent the requirement that a successive habeas petition be
27     precertified by the court of appeals as falling within an exception to the
28     successive-petition bar.” Id. at 532. Petitioner’s Rule 60(b) motion, which seeks

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1      to add new grounds for relief, is impermissible. Id.; see also Doe v. Ayers, 782
2      F.3d 425, 430 (9th Cir. 2015); Jones v. Ryan, 733 F.3d 825, 838 (9th Cir. 2013)
3      (finding Rule 60(b) motion to be disguised habeas petition).
4             Rule 4 of the Rules Governing Section 2254 Cases in the United States
5      Courts provides that “[i]f it plainly appears from the face of the petition and any
6      attached exhibits that the petitioner is not entitled to relief in the district court, the
7      judge must dismiss the petition and direct the clerk to notify the petitioner.” Here,
8      summary dismissal is warranted.
9                                                  II.
10                                              ORDER
11            IT IS HEREBY ORDERED that Judgment be entered summarily dismissing
12     the Petition and action for lack of jurisdiction.
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14
               November 9, 2017
15     DATED: ______________________
                                                               DAVID O. CARTER
16                                                         United States District Judge
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